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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                SOUTHERN DIVISION
                                     (at London)

UNITED STATES OF AMERICA,                     )
                                              )
       Plaintiff,                             )     Criminal Action No. 6: 13-027-DCR-13
                                              )
V.                                            )
                                              )
RYAN MATTHEW SMITH,                           )         MEMORANDUM OPINION
                                              )             AND ORDER
       Defendant.                             )
                                              )

                                      *** *** *** ***

       Defendant Ryan Matthew Smith is serving a term of imprisonment of 51 months for

his role in a large conspiracy to manufacture methamphetamine.              [Record No. 419]

Although the Court granted Smith a downward variance from his original guideline range at

sentencing, Smith has filed a motion for an additional sentence reduction under Amendment

782 to the United States Sentencing Guidelines and 18 U.S.C. § 3582(c)(2). [Record No.

446] Smith’s sentence of 51 months falls below the original guideline range calculated in

this case, but falls within the newly calculated range of 46 to 57 months. [Id.] After

reviewing his motion and the record, the Court finds that further reduction of Smith’s

sentence is unwarranted.

       The issue presented by the current motion is whether a sentence reduction would be

appropriate in light of the facts of the case and all relevant factors to be considered under 18

U.S.C. § 3553. The Court considers, inter alia, the seriousness of the crime, the personal

history and characteristics of the defendant, the defendant’s acceptance or responsibility and

cooperation, specific and general deterrence, and the need to protect the public from
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potential, future crimes by Smith. While Smith has filed this motion for reduction based on

Amendment 782, he has not outlined any additional facts or arguments in favor of a further

reduction of his sentence.

       Smith, a veteran who served one tour of duty in Iraq, admitted to exchanging boxes of

pseudoephedrine for oxycodone to fuel his addiction. [See Record No. 438, p. 6.] His

addiction and other criminal behavior began after Smith sustained a traumatic brain injury

during his military service. While he did not physically manufacture methamphetamine, he

was aware that the pseudoephedrine he provided would be used for that purpose.

       His Base Offense Level was 26, which was reduced by three levels for acceptance of

responsibility. [Record No. 438, p. 4] This resulted in a Total Offense Level of 23. [Id.]

When coupled with his Criminal History Category III, Smith’s non-binding guideline range

was calculated to be 57 to 71 months.        [Record No. 438, p. 4]       At sentencing, the

Government requested a within-guideline sentence of 61 months. However, after carefully

considering Smith’s personal characteristics and his role in the conspiracy, the undersigned

determined that a sentence of 51 months was sufficient, but not greater than necessary, to

meet the applicable statutory goals and objectives under 18 U.S.C. § 3553.

       While the Court considered Smith’s military service under U.S.S.G. § 5H1.11, the

Court found that provision was offset by the negative impact of Smith’s less than honorable

discharge from the military based on criminal charges. [Record No. 438, p. 13] However, a

variance below the guideline range was still appropriate based on several positive factors

outlined at sentencing and in Smith’s sentencing memorandum.            Smith’s role in the

conspiracy was motivated by his own addiction and, unlike other co-conspirators in this case

and in others that this Court often sees, Smith did not sell to other individuals. [Record No.
                                             -2-
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438, p. 15] The Court also noted that, at the time of Smith’s sentence, it appeared that

Amendment 782 was going to go into effect. [Record No. 438, pp. 15–16]

       In short, the Court has considered the relevant factors under § 3553, but finds its

analysis unchanged from that at sentencing less than six months ago. Consideration of the

substantial costs of incarceration do not compel a lower sentence in this case considering the

gravity of the offense and other sentencing factors discussed above. As the government

pointed out at sentencing, Smith’s past criminal history and experience with drug treatment

would suggest that there is a high likelihood that he will continue his criminal behavior in the

future. A further reduction of Smith’s sentence would unduly diminish the seriousness of his

criminal conduct and would fail to provide sufficient specific or general deterrence under the

circumstances. Therefore, having again considered the relevant sentencing factors, the Court

finds that a sentence of 51 months is sufficient but not greater than necessary to attain the

statutory goals and objectives outlined in § 3553. Accordingly, it is hereby

       ORDERED that Defendant Ryan Matthew Smith’s motion [Record No. 446] for

reduction of his sentence under 18 U.S.C. § 3582(c)(2) is DENIED.

       This 17th day of March, 2015.




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